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                         UNITED ST4 TES DISTRICT COURT
                            DiSTRiCT OF NEW JERSEY

 UNITED STATES OF AMERICA.                                   lion. Stanley R. Chesler

                                       Plaintiff             Criminal No. 05-533

                                                              ORDER
 STEVEN VENECHANOS,


                                       Dejëndani,
                and

 WACHOVIA BANK. NA.
 and its successors or assigns.

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       This matter having been opened to the Court by the Acting U.S. Attorney. PAUL J.

FISHMAN for the District of New Jersey, on behalf of plaintiff United States of America, and for

good cause shown.
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       ORDERED that the Application and Order for Writ of Garnishment in this matter is

hereb’ \\1THDRAVN


                                                             STANLEY R. CHESLER
                                                      Judge, U.S. District Court
